                Case 22-11068-JTD   Doc 283-2    Filed 12/21/22   Page 1 of 5




                                         Exhibit B

                                    Proposed Stipulation




{1368.002-W0069457.}
                  Case 22-11068-JTD              Doc 283-2        Filed 12/21/22         Page 2 of 5




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )      Chapter 11
                                                                     )
    FTX TRADING LTD., et al., 1                                      )      Case No. 22-11068 (JTD)
                                                                     )
                                       Debtors.                      )      (Jointly Administered)
                                                                     )

                             JOINT STIPULATION BETWEEN
                    WEST REALM SHIRES INC. AND VOYAGER DIGITAL, LLC

             This Stipulation (“Stipulation”) is being entered into between (i) West Realm Shires Inc.

(“WRS”) and (ii) Voyager Digital, LLC (“Voyager”). WRS and Voyager are each a “Party” and

collectively, the “Parties.”

                                                     RECITALS

             WHEREAS, on July 5, 2022 (the “Voyager Petition Date”), each Voyager debtor filed a

voluntary petition for relief under chapter 11 of title 11 (as amended, the “Bankruptcy Code”) in

the United States Bankruptcy Court for the Southern District of New York (the “SDNY Court”);

             WHEREAS, on August 5, 2022, the SDNY Court entered the Order (I) Approving the

Bidding Procedures and Related Dates and Deadlines, (II) Scheduling Hearings and Objection

Deadlines with Respect to the Debtors’ Sale, Disclosure Statement, and Plan Confirmation, and

(III) Granting Related Relief [SDNY Court Docket No. 248] (the “Bidding Procedures Order,”

and the procedures approved thereunder, the “Bidding Procedures”);




1     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
      4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
      Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
      of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/FTX.
             Case 22-11068-JTD        Doc 283-2      Filed 12/21/22    Page 3 of 5




       WHEREAS, on August 22, 2022, Voyager filed the Notice of Filing Revised Bidding

Procedures [SDNY Court Docket No. 328] amending the Bidding Procedures;

       WHEREAS, on September 27, 2022, WRS and Voyager executed that certain asset

purchase agreement (including all exhibits and schedules, the “Initial Asset Purchase Agreement”)

[SDNY Court Docket No. 472-B];

       WHEREAS, on October 20, 2022, the SDNY Court entered the Order (I) Authorizing

Entry Into the Asset Purchase Agreement and (II) Granting Related Relief [SDNY Court Docket

No. 581];

       WHEREAS, on October 20, 2022, WRS and Voyager executed the first amendment to the

asset purchase agreement (together with the Initial Asset Purchase Agreement, the “Asset Purchase

Agreement”) [SDNY Court Docket No. 582];

       WHEREAS, on November 10, 2022, WRS agreed to waive Article 5.2 of the Asset

Purchase Agreement;

       WHEREAS, on November 14, 2022, Voyager sent WRS a letter pursuant to Article 8.1(d)

of the Asset Purchase Agreement identifying certain alleged breaches under the Asset Purchase

Agreement by WRS;

       WHEREAS, on November 14, 2022, WRS filed a petition for voluntary relief under

chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the District of Delaware (the “DE

Court”) jointly administered under the caption In re FTX Trading Ltd., Case No. 22-11068 (JTD)

(Bankr. D. Del. Nov. 11, 2022); and

       WHEREAS, WRS and Voyager have engaged in arm’s length discussions regarding the

Asset Purchase Agreement in light of the commencement of these chapter 11 cases.




                                                 2
             Case 22-11068-JTD        Doc 283-2       Filed 12/21/22    Page 4 of 5




       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among

undersigned counsel for the Parties as follows:

       1.      Termination of the Asset Purchase Agreement. The Parties agree that the Asset

Purchase Agreement is terminated;

       2.      WRI’s Good-Faith Deposit. The Parties agree that Voyager shall be entitled to

continue to hold the $5 million good-faith deposit provided by WRS to Voyager pursuant to the

terms of the Bidding Procedures (the “Deposit”) subject in all respects to the rights, claims and

defenses of WRS and Voyager reserved pursuant to Paragraph 3 hereof; and

       3.      Reservation of Rights. Except as otherwise set forth in this Stipulation, each Party

reserves any and all rights, claims and defenses against the other Party, including without

limitation, arising out of termination of the Asset Purchase Agreement and the Deposit.




                                                  3
         Case 22-11068-JTD   Doc 283-2   Filed 12/21/22   Page 5 of 5




AGREED BY:

DECEMBER 9, 2022

                        /s/ Andrew G. Dietderich
                        SULLIVAN & CROMWELL LLP
                        Andrew G. Dietderich
                        Brian Glueckstein
                        125 Broad Street
                        New York, NY 10004
                        Telephone:    212-558-4000
                        Email:        dietdericha@sullcrom.com
                                      glueckseinb@sullcrom.com

                        Proposed Counsel to WRS

                                                                        -and-

                        /s/ Christopher M. Samis
                        POTTER ANDERSON & CORROON LLP
                        Christopher M. Samis (No. 4909)
                        Aaron H. Stulman (No. 5807)
                        Sameen Rizvi (No. 6902)
                        1313 N. Market Street, 6th Floor
                        Wilmington, Delaware 19801
                        Telephone:     (302) 984-6000
                        Facsimile:     (302) 658-1192
                        Email:         csamis@potteranderson.com
                                       astulman@potteranderson.com
                                       srizvi@potteranderson.com

                        Counsel to Voyager
